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                                                             Court-Appointed Temporary Receiver for Link Motion Inc.
                                                             Pursuant to The Honorable Judge Victor Marrero of the
                                                             United States District Court, Southern District of New York

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VIA ECF
Hon. Valerie Figueredo
United States Courthouse
500 Pearl Street
New York, New York 10007

July 8, 2022

Re: Baliga, et al. v. Link Motion Inc., et al., 1:18-cv-11642-VM-VF (S.D.N.Y.)

Dear Judge Figueredo,

I write in response to the Court’s order (Dkt 310) granting the Receiver an extension of time to
respond to Defendant’s letter motion (Dkt 306) seeking the unsealing of certain documents that
were previously submitted by the Receiver to the Court under seal, and filed by the Court on the
docket under seal (the “Sealed Documents”).

The Receiver Remains Unable to Communicate With Mr. Lilin Guo

As detailed in my previous letter to your honor dated June 9, 2022 (Dkt 309), since April 1, 2022,
despite repeated efforts, the Receiver and his staff have not had any contact with the Receiver’s
appointed agent in mainland China, Mr. Lilin Guo (“Mr. Guo”). After submitting the June 9
letter, my office made several further attempts to contact Mr. Guo to ascertain, among other things,
whether he had any objection to the Court unsealing the Sealed Documents based on any risks to
his (or those acting with him) personal safety. Despite making numerous attempts, including
multiple attempts on the date of this letter (July 8, 2022), the Receivership has been unable to
contact Mr. Guo. For this reason, the Receivership remains concerned for Mr. Guo’s physical
safety and well-being 1.

The Receiver’s Position Regarding Unsealing of the Sealed Documents

The Receiver believes that the Sealed Documents comprise three categories of documents:

           (1) Status reports, letters, and other written communications to the Court
               concerning the activities of the Receivership;

           (2) Detailed invoices submitted to the Court for work performed by the
               Receivership and Receiver’s counsel in the United States and other jurisdictions
               since the Receiver’s appointment in February 2019, as well as invoices of other
               professionals and agents who worked with counsel, including Mr. Guo; and

           (3) Documents relating to Mr. Guo’s court-approved note agreement (the “Note

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    The Receivership has made efforts to communicate with the authorities in this regard but to no avail.




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             Agreement”) and any compensation provided to him thereunder. 2

As to the first category, the Receiver has no objection to unsealing this category of documents,
provided that information concerning the Note Agreement and Mr. Guo's compensation thereunder
is redacted, given the Receiver’s concern that public disclosure of such information may place Mr.
Guo in jeopardy (as discussed further below). 3

As to the second category, the Receiver notes that the detailed invoices (which are voluminous
and span several years) largely consist of privileged and confidential material and references to
sources and methods, which would be unduly burdensome to analyze and redact. Accordingly,
the Receiver does not consent to the unsealing of the invoices at this time. 4

As to the third category, the Receiver notes that Mr. Guo specifically requested that the Receiver
submit the Note Agreement and the details of his compensation to the Court under seal; the
Receiver therefore requested, and the Court approved, of keeping such information under seal. As
discussed above, the Receiver has been unable to communicate with Mr. Guo in order obtain his
consent to unseal any documents related to the Note Agreement or his compensation. In light of
Mr. Guo's sudden and unexplained disappearance for over three months in China (as well as the
circumstances of this action, including the extraordinary misconduct of Defendant Shi that I
described in my June 9 letter), the Receiver is concerned that public disclosure of the Note
Agreement or information concerning Mr. Guo's compensation may jeopardize or gravely
aggravate Mr. Guo's safety. As such, the Receivership is unable to consent to the unsealing of the
documents related to Mr. Guo’s Note Agreement or his compensation.

The Receiver will be guided by the Court’s orders with respect to the foregoing.

Please do not hesitate to contact me via email or telephone if your Honor wishes to discuss this
matter in further detail.




                                                              Robert W. Seiden, Esq.
                                                              Court-Appointed Temporary Receiver
                                                              for Link Motion Inc.

CC:     The Honorable Judge Victor Marrero (via ECF)
        All Parties (via ECF)

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  We believe the sealed documents relating to Mr. Guo’s Note Agreement are Dkt Nos. 74, 119, 120, 255, 256.
3
  At least some of the status reports have already been filed on the docket. See Dkt 220-2, 220-3, 220-4.
4
  Judge Freeman’s Report and Recommendation (Dkt 275) recommended that the Receiver perform an accounting.
See Dkt 275 at 39-42. If Judge Marrero adopts that recommendation and requires the Receiver to perform such an
accounting, the Receiver may (if ordered by the Court) need to publicly file copies of all invoices with the Court
(together with any appropriate redactions for privilege). In light of the foregoing, an order unsealing the
Receivership’s invoices at this time is premature.




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